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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MARYLAND
                                    NORTHERN DIVISION



 MARYLAND OFFICE OF THE PUBLIC
 DEFENDER, et al.

                    PLAINTIFFS,

 v.
                                                         Civil Action No.: No. 1:21-cv-01088-ELH
 TALBOT COUNTY, MARYLAND,                                Judge Ellen L. Hollander

                    DEFENDANT.


               PLAINTIFFS’ MOTION TO EXTEND TIME TO RESPOND TO
                            THE MOTION TO DISMISS

        MARYLAND OFFICE OF THE PUBLIC DEFENDER, ET AL., Plaintiffs, by their

attorneys, and pursuant to Fed. R. Civ. P. 6(b), respectfully move this Honorable Court for a 30-

day extension to respond to the Defendant’s Motion to Dismiss, until August 13, 2021. As good

cause for the requested relief, states as follows:

        1.         The subject matter of the Motion to Dismiss raises complex issues of significant

public interest.

        2.         In the interest of providing an appropriately thorough response on behalf of

Plaintiffs, undersigned counsel contacted Defendant’s counsel to request consent to an extension

of time to respond and Defendant’s counsel has graciously consented to a thirty (30) day

extension.

        3.         The request for an extension of time is not posed for vexatious or contumacious

purposes.

        4.         No party will be unduly prejudiced should the requested relief be granted.

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     July 12, 2021                      Respectfully submitted,

                                        /s/ Daniel W. Wolff

Deborah A. Jeon (Bar No. 06905)         Daniel W. Wolff (Bar No. 19940)
AMERICAN CIVIL LIBERTIES UNION          David Ervin *
       FOUNDATION OF MARYLAND           Kelly H. Hibbert (Bar No. 18347)
3600 Clipper Mill Road                  Alexandra L. Barbee-Garrett*
Suite 350                               Ashley McMahon*
Balitmore, MD 21211                     CROWELL & MORING LLP
410.889.8550 x 120                      1001 Pennsylvania Avenue, NW
jeon@aclu-md.org                        Washington, DC 20004-2595
                                        Tel: (202) 624-2500
                                        Fax: (202) 628-5116
                                        dwolff@crowell.com
                                        dervin@crowell.com
                                        khibbert@crowell.com
                                        abarbee-garrett@crowell.com
                                        amcmahon@crowell.com

                                        Suzanne Trivette*
                                        CROWELL & MORING LLP
                                        590 Madison Avenue, 20th Floor
                                        New York, NY 10022-2544
                                        Telephone: 212.223.4000
                                        Facsimile: 212.223.4134
                                        strivette@crowell.com

                                        Tiffanie McDowell*
                                        CROWELL & MORING LLP
                                        3 Park Plaza, 20th Floor
                                        Irvine, California 92614
                                        Telephone: 949.263.8400
                                        Facsimile: 949.263.8414
                                        tmcdowell@crowell.com

                                        Attorneys for Plaintiffs

                                        *Motion for leave to appear pro hac vice
                                        forthcoming




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on this 12th day of July 2021, a copy of the foregoing was

electronically filed with notice to:

               Kevin Bock Karpinski
               Karpinski, Cornbrooks & Karp, P.A.
               120 East Baltimore Street
               Suite 1850
               Baltimore, MD 21202-1617
               410-727-5000
               Fax: 410-727-0861
               Email: kevin@bkcklaw.com

                                                     /s/ Daniel W. Wolff




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